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                                                                                     11/14/2017



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION



 ELIZABETH SINES, et al.                        )
                                                )
 v.                                             )          Civil Action No. 3:17-cv-00072
                                                )
 JASON KESSLER, et al.                          )          PRETRIAL ORDER

        The court proposes the following as a pretrial order pursuant to Federal Rule of Civil
 Procedure 16(b). If no party requests changes within 10 days, it will constitute the scheduling
 order in this case. The court may amend the order on its own motion, or the parties may amend
 the order’s disclosure and discovery provisions by submitting an agreed written plan that
 satisfies the requirements of Rule 26(f).


                                             Summary

        TRIAL DATE:            Contact Heidi Wheeler, scheduling clerk, at (434) 296-9284,
                               within 14 days of this order for the purpose of setting a trial
                               date.

        PLACE:                 UNITED STATES DISTRICT COURT
                               255 West Main Street
                               Charlottesville, VA 22902

        FED.R.CIV.P.26(f) CONFERENCE:                             14 days from this order

        INITIAL DISCLOSURES UNDER FED.R.CIV.P.26(a):              30 days from this order

        PLAINTIFF(S) INITIAL EXPERT DISCLOSURE:                   75 days from this order

        DEFENDANT(S) INITIAL EXPERT DISCLOSURE:                   90 days from this order

        DEADLINE TO COMPLETE DISCOVERY:                           90 days before trial date

        DEADLINE TO FILE DISPOSITIVE MOTIONS:                     75 days before trial date

        DEADLINE FOR HEARING DISPOSITIVE MOTIONS:                 45 days before trial date
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                                        Trial and Settlement
         1.      This case is set for a jury trial.

         2.      Proposed jury instructions and special interrogatories must be filed with the clerk

 of the court at least 7 days prior to trial, with copies provided to opposing counsel.

         3.      Motions in limine must be filed with the clerk of court at least 14 days prior to

 trial, with copies provided to opposing counsel. Opposition briefs to any motion in limine must

 be filed with the clerk of the court at least 7 days prior to trial.

         4.      If the case settles before trial and the court does not receive a proposed final order

 within 30 days after the court received oral or written notification of the settlement, the court will

 dismiss the case with prejudice.

                                                 Motions

         5.      All dispositive motions must be filed no later than 75 days before trial and must

 be heard or submitted for decision no later than 45 days before trial. If the parties agree that a

 dispositive motion is appropriate for decision without oral argument they must file a stipulation

 no later than 45 days before trial stating that the motion is ripe for decision.

         6.      A supporting brief must accompany all pretrial motions, unless the motion

 contains the legal argument necessary to support it or is certified to be unopposed. If a motion

 that is not unopposed has been filed before this order without legal argument to support it, the

 movant must file a supporting brief within 14 days of the date of this order or the motion will be

 dismissed.

         7.      If any motion, properly filed and briefed, is to be opposed, a brief in opposition

 must be filed within 14 days of the date of service of the movant’s brief (or within 14 days of this

 order if a motion and supporting brief were served before this order). Except for good cause


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 shown, if a brief opposing a motion is not timely filed, the court will consider the motion to be

 unopposed. If a moving party desires to submit a reply brief, it must be filed within 7 days of the

 date of service of the brief opposing the motion. A surreply brief may not be filed without prior

 leave of the court.

        8.       Exclusive of any accompanying exhibits, a brief may not exceed 25 pages in

 length using standard margins, double-spaced lines, and a font no smaller than 12-point Times,

 unless the filing party first obtains leave of the court after showing good cause why a longer brief

 is necessary.

        9.       When a dispositive motion, together with its supporting brief and exhibits (or any

 other brief combined with exhibits), consists of 50 or more pages, the filing party must send a

 paper courtesy copy of the documents to the chambers of the presiding District Judge at 1101

 Court Street, Room 390, Lynchburg, VA 24504.

        10.      No motion, brief, or exhibit may be filed under seal, except as allowed by the

 mandatory provisions of W.D. Va. Gen. R. 9. The requirements of Rule 9 may not be modified

 by a stipulated protective order or other agreement of the parties. See W.D. Va. Gen. R. 9(g).

        11.      If any party desires a hearing on any dispositive or nondispositive motion, then no

 later than 14 days after the filing of the last brief on the motion, that party must contact Heidi

 Wheeler, scheduling clerk, to set a hearing date. If no hearing on the motion is necessary, the

 moving party must file a notice that the motion is ripe for decision, no later than 14 days after the

 filing of the last brief on the motion. In any event, if within 45 days of the filing of any

 dispositive or nondispositive pretrial motion, no party has scheduled the motion for hearing or

 advised the court that the motion is ripe for decision, the court may deny the motion with or

 without prejudice.



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        12.     Nondispositive motions, including motions for enlargement of time, whether or

 not opposed, may be acted upon at any time by the court, without awaiting a response, and any

 party adversely affected by such action may request reconsideration, vacation or modification.

        13.     All nondispositive pretrial motions and issues, including any requested changes in

 this order, are hereby referred to United States Magistrate Judge Joel C. Hoppe pursuant to 28

 U.S.C. § 636(b)(1)(A).

                                             Discovery

        14.     Unless the parties stipulate otherwise, within 14 days of the date of this Order, the

 parties must confer and develop a discovery plan as required by Rule 26(f).

        15.     Unless the parties stipulate otherwise, initial disclosures as required by Rule

 26(a)(1) must be made within 30 days of the date of this Order.

        16.     All discovery must be completed at least 90 days prior to trial. This schedule

 requires that written discovery be served in sufficient time to allow the responding party time to

 respond before the cutoff date for discovery.

        17.     Except for disclosures under Rule 26(a)(3) of trial witnesses and exhibits, which

 the parties must file, the parties are not to file discovery and disclosure material unless and until

 actually used in the proceeding.

                                        Expert Witnesses

        18.     Expert witnesses who are retained or specially employed to provide expert

 testimony in the case or whose duties as an employee of the party regularly involve giving expert

 testimony must prepare a written report that conforms to the requirements of Rule 26(a)(2)(B).

 Unless the parties otherwise agree or the court otherwise directs, the plaintiff must submit the

 written report of each expert not later than 75 days from the date of this order, and the defendant


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 must submit the written report of each expert no later than 90 days from the date of this order.

 Supplemental and additional reports may be thereafter submitted, if submitted “in sufficient

 time” that discovery, if desired, can be completed reasonably by the discovery cutoff date

 without undue duplication and expense.

        19.     With respect to expert witnesses who are not retained or specially employed to

 provide expert testimony or whose duties as an employee of the party do not regularly involve

 giving expert testimony, such as a treating physician or clinician, the plaintiff must disclose the

 identity of any such witness and provide a summary of all opinions the witness will render and

 the basis therefore not later than 75 days from the date of this order, and the defendant must

 disclose the identity of any such witness and provide a summary of all opinions the witness will

 render and the basis therefore not later than 90 days from the date of this order. Supplemental

 and additional disclosures may be thereafter submitted, if submitted “in sufficient time” that

 discovery, if desired, can be completed reasonably by the discovery cutoff date without undue

 duplication and expense.

        20.     Any motion to exclude the testimony of an expert based on the sufficiency or

 reliability of the expert’s testimony must be filed no later than the deadline for filing motions for

 summary judgment.

        21.     The parties shall exchange lists of the witnesses they expect to call at trial no later

 than 21 days prior to trial. For each witness, the list shall include the witness’s name and address

 and a summary of the witness’s anticipated testimony.




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                                                Mediation

        22.     At the request of any party, the court will refer the case to the magistrate judge to

 conduct mediation.

                                    Joinder of Other Parties

        23.     The court shall consider motions to join other parties in accordance with Rules 19,

 20, and 21 of the Federal Rules of Civil Procedure. Except for good cause shown, any such

 motion must be filed no later than 45 days from the date of this order.

                                    Amendment of Pleadings

        24.     The court shall consider a party’s motion to amend pleadings in accordance with

 Rule 15 of the Federal Rules of Civil Procedure. Except for good cause shown, any such motion

 must be filed no later than 45 days from the date of this order.

                                    Integrated Pretrial Order

        25.     No later than 7 days before trial the parties shall jointly file a proposed pretrial

 order briefly summarizing the following:

                    •   any contested issues of law that require a ruling before trial;

                    •   the essential elements that a party must prove to establish any meritorious

                        claims remaining for adjudication, and the damages or other relief sought;

                    •   the essential elements that a party must prove to establish any meritorious

                        defenses;

                    •   the material facts and theories of liability or defense;

                    •   the issues of fact contested by each party;

                    •   any contested issues of law that do not require a ruling before trial;

                    •   any stipulations; and

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                    •   any special voir dire questions.

        For those items, if any, on which the parties are unable to agree, each party shall briefly

 summarize its position in a separately filed addendum to the joint proposed pretrial order.

        It is so ORDERED.

                      14th day of November, 2017.
        ENTERED this _____




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